     2:07-cr-00578-RMG               Date Filed 04/16/19     Entry Number 110      Page 1 of 1




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                  CHARLESTON DIVISION



ALBERT E. PARISH, JR.,
                                                                     CR #: 2:07-578-RMG-1
                       Petitioner,                                   C/A #: 2:17-3315-RMG
                 -v-


UNITED STATES OF AMERICA,

                Respondent.
___________________________________



Decision on the Record. This action came before the court on the record, Honorable Richard
M. Gergel, United States District Judge presiding.         The issues have been reviewed and a
decision rendered.




IT IS ORDERED AND ADJUDGED that the petitioner=s "Motion for Relief Under 28 U.S.C. §

455(a),(b)(4), and Rule of Civil Procedure 60(b)(6) is DENIED.

                                                                       ROBIN L. BLUME, Clerk




April 16, 2019
